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                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA

                                                                 CASE NUMBER:


CINCINNATI INSURANCE COMPANY, et al.                               2:22−cv−01770−SB−PD
                                                 Plaintiff(s),

         v.
ANDY ROCK F.A.S., LLC, et al.
                                                                   NOTICE TO FILER OF DEFICIENCIES IN
                                               Defendant(s).       ELECTRONICALLY FILED DOCUMENTS




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                                              Clerk, U.S. District Court

Dated: April 6, 2022                          By: /s/ Andrea Kannike Andrea_Kannike@cacd.uscourts.gov
                                                 Deputy Clerk

cc: Assigned District Judge and/or Magistrate Judge

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